                                                                                Motion GRANTED.
                                                                                Hearing reset for
                           UNITED STATES DISTRICT COURT                         12/17/12 at 1:30 p.m.
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )       NO. 3:10-cr-00250
                                             )       JUDGE TRAUGER
MATTHEW DEHART                               )


                      MOTION TO RESCHEDULE STATUS HEARING

       The United States of America, by and through S. Carran Daughtrey, Assistant United States

Attorney for the Middle District of Tennessee, hereby requests this Court reschedule the status

conference recently set for December 17, 2012, at 2:30 p.m. based on a previously scheduled

appointment with a medical specialist at 3:00 p.m. that day, which would be difficult to reschedule

for a time the near future. Except for this doctor’s appointment, the undersigned is available any

other time on Monday, December 17, 2012 (i.e. prior to 2:30 and after 4:15).

                                                     Respectfully submitted,

                                                     JERRY E. MARTIN
                                                     United States Attorney for the
                                                     Middle District of Tennessee

                                                     s/ S. Carran Daughtrey
                                                     S. Carran Daughtrey
                                                     Assistant United States Attorney
                                                     110 Ninth Avenue South, Suite A-961
                                                     Nashville, Tennessee 37203-3870
                                                     Telephone: 615/736-5151


                                 CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been served electronically
on Michael Terry and Stephanie Gore, counsel for defendant, on this, the 11th day of December,
2012.

                                                     s/ S. Carran Daughtrey
                                                     S. Carran Daughtrey


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